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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

ANNE BRYANT,

       Plaintiff,

v.                                                               Case No: 8:18-cv-1336-T-36CPT

HASBRO, INC., JOHN AND JANE DOES,
1-12 and ABC CORPORATIONS 1-7,

       Defendants.


                                             ORDER

       This case is before the Court on the Case Management Report (Doc. 21) filed by the

Plaintiff on October 29, 2018.

       The parties shall provide specific agreed upon dates in the Case Management Report,

pursuant to Fed.R.Civ.P. 26(f) and Local Rule 3.05(c). 1

       Accordingly, it is now

       ORDERED:

       The parties’ Case Management Report (Doc. 21) is STRICKEN. The parties shall submit

an Amended Case Management Report on or before November 9, 2018. Failure to comply with

this Order may result in the imposition of appropriate sanctions without further notice.




1
 Filing mandatory initial disclosures is not based on the Court’s ruling on motions to dismiss.
Generally, a pending motion to dismiss, alone, is not a basis to delay discovery. See Middle
District Discovery (2015) at § 1(E)(4).
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       DONE and ORDERED in Orlando, Florida on November 2, 2018.




Copies furnished to:
Counsel of Record
Unrepresented Parties




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